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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                    )
                                              )
        v.                                    )        No. 22-320 (JMC)
                                              )
 ANTONIO LAMOTTA,                             )
                                              )
                       Defendant.             )
                                              )

                      MOTION TO DELAY SELF-SURRENDER DATE

        Defendant, Antonio Lamotta, through counsel, respectfully requests that the Court order

 that his current self-surrender date of November 15, 2024, be delayed until no sooner than

 January 20, 2025. Below are the reasons in support:

       Mr. Lamotta was convicted of charges arising out of events on January 6, 2021. He was

sentenced to 6 months’ incarceration followed by 24 months’ supervised release. See ECF No.

77. The Court permitted Mr. Lamotta to voluntarily self-surrender to serve his period of

incarceration.

       On November 8, 2024, Mr. Lamotta received a notice stating that he must self-surrender

to FCI Allenwood on November 15, 2024. Mr. Lamotta has been in full compliance with his

release conditions and has had no violations before this Court.

       On November 6, 2024, Donald J. Trump was declared the winner of the presidential

election. The soon to be president has repeatedly made statements declaring that he will pardon

individuals convicted in connection with January 6, 2021. As recent as this past summer, the
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soon to be President stated publicly that he still intends to follow through with this promise. 1

        Mr. Lamotta could very well be one of the defendants that the soon to be President

chooses to pardon, especially because he has not been convicted of assaulting an officer.

Furthermore, Mr. Lamotta has maintained his innocence and has noticed his intent to appeal his

convictions.

        Judges in other similar cases have recently denied similar requests in cases where

defendants are awaiting sentencing. See e.g., United States v. Anna v. Lichnowski, 23-cr-341

(RBW) (denying motion to continue sentencing based on “potential discretionary power”).

However, this unprecedented situation is far different from a theoretical or potential discretion of

presidential power. Rather, the soon to be President has repeatedly made it clear he will exercise

his authority to pardon January 6 defendants. Mr. Lamotta would be prejudiced by having to

serve 6 months of prison time based solely on the timing of when his case came through the

system.

        For all of these reasons, Mr. Lamotta respectfully requests that the Court grant his request

to delay his obligation to report to serve his time until after January 20, 2025.

                                                     Respectfully submitted,

                                                     A. J. KRAMER
                                                     FEDERAL PUBLIC DEFENDER

                                                              /s/

                                                     Maria N. Jacob
                                                     D.C. Bar No. 1031486
                                                     Assistant Federal Public Defender
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                                                     Washington, D.C. 20004

1
 Reilly, Ryan, NBC News, Donald Trump says again he would ‘absolutely’ pardon January 6 rioters, July 31,
2024, available at https://www.nbcnews.com/politics/justice-department/donald-trump-says-absolutely-pardon-jan-
6-rioters-rcna164565
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